18-23538-rdd        Doc 2761        Filed 03/06/19 Entered   03/06/19
                                                     Presentment         15:29:37
                                                                  Date and           Main
                                                                           Time: March  14 atDocument
                                                                                              10:00 a.m.
                                                 Pg 1 of 21
                                                          Objection Date and Time: March 13 at 4:00 p.m.
                                           Hearing Date and Time (Only if Objections Filed): To Be Announced



 WACHTELL, LIPTON, ROSEN & KATZ
 51 West 52nd Street
 New York, New York 10019
 Telephone: (212) 403-1000
 Facsimile: (212) 403-2000
 Scott K. Charles
 Amy R. Wolf

 327(e) Counsel for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------x
 In re                                                          :
                                                                :       Chapter 11
 SEARS HOLDINGS CORPORATION, et al.,                            :
                                                                :       Case No. 18-23538 (RDD)
                                                                :
                   Debtors. 1                                   :       (Jointly Administered)
 ---------------------------------------------------------------x

               NOTICE OF PRESENTMENT OF CONSENT APPLICATION OF
                      WACHTELL, LIPTON, ROSEN & KATZ TO
                 WITHDRAW AS SPECIAL COUNSEL TO THE DEBTORS
                         PURSUANT TO LOCAL RULE 2090-1



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
 LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); SHC Licensed
 Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden,
 LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart
 Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears
 Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home
 Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc. (2859);
 Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck Acceptance Corp.
 (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC (None); SHC
 Promotions LLC (9626); Big Beaver of Florida Development, LLC (None); California Builder Appliances, Inc.
 (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan,
 Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC
 (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings Publishing Company,
 LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc.
 (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None); BlueLight.com,
 Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC (9022); Sears Brands
 Management Corporation (5365); and SRe Holding Corporation (4816). The location of the Debtors’ corporate
 headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179.
18-23538-rdd     Doc 2761      Filed 03/06/19 Entered 03/06/19 15:29:37               Main Document
                                            Pg 2 of 21


                PLEASE TAKE NOTICE that Wachtell, Lipton, Rosen & Katz, section 327(e)

 counsel to the debtors and debtors in possession, will present the Consent Application of

 Wachtell, Lipton, Rosen & Katz to Withdraw as Special Counsel to the Debtors Pursuant to

 Local Rule 2090-1, together with the proposed order annexed to the application (the

 “Application”) to the Honorable Robert D. Drain, United States Bankruptcy Judge, for

 signature, in Chambers, on March 14, 2019 at 10:00 a.m.

                PLEASE TAKE FURTHER NOTICE that any objections to the Application shall

 be in writing, shall conform to the Federal Rules of Bankruptcy Procedure and the Local

 Bankruptcy Rules for the Bankruptcy Court, shall be filed with the Bankruptcy Court, and shall

 be served in accordance with the Amended Order Implementing Certain Notice and Case

 Management Procedures, entered on November 1, 2018 (ECF No. 405), and upon the

 undersigned and the parties entitled to notice thereof, by no later than March 13, 2019 at 4:00

 p.m.

                PLEASE TAKE FURTHER NOTICE that, if no Objections are timely filed and

 served, there will not be a hearing to consider such Application, and such Application may be

 approved by the Court.

                PLEASE TAKE FURTHER NOTICE that, if a written objection is timely filed

 and served with respect to the Application, a hearing (the “Hearing”) will be held to consider

 such objection before the Honorable Robert D. Drain, United States Bankruptcy Judge, at the

 United States Bankruptcy Court, 300 Quarropas Street, White Plains, New York 10601, at a date

 and time to be announced.

                PLEASE TAKE FURTHER NOTICE that objecting parties are required to attend

 the Hearing and failure to appear may result in relief being granted upon default.




                                                 -2-
18-23538-rdd   Doc 2761      Filed 03/06/19 Entered 03/06/19 15:29:37      Main Document
                                          Pg 3 of 21


 Dated: March 6, 2019
        New York, New York



                                      /s/ Amy R. Wolf_____________________

                                      WACHTELL, LIPTON, ROSEN & KATZ
                                      51 West 52nd Street
                                      New York, New York 10019
                                      Telephone: (212) 403-1000
                                      Facsimile: (212) 403-2000
                                      Scott K. Charles
                                      Amy R. Wolf

                                      327(e) Counsel for Debtors and Debtors in
                                      Possession




                                           -3-
18-23538-rdd        Doc 2761        Filed 03/06/19 Entered   03/06/19 15:29:37 Main Document
                                                     Presentment Date and Time: March 14 at 10:00 a.m.
                                                 Pg 4 of 21
                                                          Objection Date and Time: March 13 at 4:00 p.m.
                                           Hearing Date and Time (Only if Objections Filed): To Be Announced

 WACHTELL, LIPTON, ROSEN & KATZ
 51 West 52nd Street
 New York, New York 10019
 Telephone: (212) 403-1000
 Facsimile: (212) 403-2000
 Scott K. Charles
 Amy R. Wolf

 327(e) Counsel for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------x
 In re                                                          :
                                                                :       Chapter 11
 SEARS HOLDINGS CORPORATION, et al.,                            :
                                                                :       Case No. 18-23538 (RDD)
                                                                :
                   Debtors.   1                                 :       (Jointly Administered)
 ---------------------------------------------------------------x

        CONSENT APPLICATION OF WACHTELL, LIPTON, ROSEN & KATZ TO
              WITHDRAW AS SPECIAL COUNSEL TO THE DEBTORS
                      PURSUANT TO LOCAL RULE 2090-1




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
 LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); SHC Licensed
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 (7180); Kmart Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co.
 (6028); Sears Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears
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 Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC
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 Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839);
 Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart
 Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings
 Publishing Company, LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC
 (None); SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC
 (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com
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18-23538-rdd     Doc 2761     Filed 03/06/19 Entered 03/06/19 15:29:37            Main Document
                                           Pg 5 of 21


 TO THE HONORABLE ROBERT D. DRAIN,
 UNITED STATES BANKRUPTCY JUDGE:

                Wachtell, Lipton, Rosen & Katz (“Wachtell”), as section 327(e) counsel to the

 debtors and debtors in possession in the above-captioned chapter 11 cases (collectively, the

 “Debtors” and, together with their non-debtor affiliates, the “Company”), respectfully

 represents in support of this application under Local Rule 2090-1 (the “Application”):

                                           Background

                1.     Beginning on October 15, 2018 (the “Commencement Date”) and

 continuing thereafter, each of the Debtors commenced with this Court a voluntary case under

 chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The Debtors are

 authorized to continue to operate their business and manage their properties as debtors in

 possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.           No trustee or

 examiner has been appointed in these chapter 11 cases.

                2.     On October 29, 2018, the Debtors filed the Application of Debtors for

 Authority to Retain and Employ Wachtell, Lipton, Rosen & Katz as Special Counsel for the

 Debtors Nunc Pro Tunc to the Commencement Date (the “October Application”). As set forth

 in the Application and its accompanying declarations (the “Declarations”), Wachtell had

 represented the Debtors prior to the filing of these cases with respect to various matters (the

 “Wachtell Matters”), including structuring asset sales and other disposition transactions,

 including real estate matters, advising on various financing transactions, negotiating agreements

 with the Pension Benefit Guaranty Corp., and advising on significant litigation matters, including

 the CCAA proceeding for Sears Canada. The Debtors made the application to retain Wachtell in

 order to take advantage of Wachtell’s knowledge and expertise regarding those historical

 matters. The Debtors did not seek to employ Wachtell as general or special bankruptcy counsel,



                                                 2
18-23538-rdd     Doc 2761      Filed 03/06/19 Entered 03/06/19 15:29:37           Main Document
                                            Pg 6 of 21


 or for Wachtell to advise the Debtors or their estates with respect to their duties under the

 Bankruptcy Code.

                3.      On November 8, 2018, the Debtors filed an amended declaration and

 supplemental declarations in support of the Application. On November 12, 2018, the Debtors

 filed a certificate of no objection regarding the Application.

                4.      On November 19, 2018, this Court granted the Application nunc pro tunc

 to the Commencement Date.         Wachtell has subsequently provided certain services to the

 Debtors.

                5.      On February 8, 2019, this Court entered an Order (I) Approving the Asset

 Purchase Agreement Among Sellers and Buyer, (II) Authorizing the Sale of Certain of the

 Debtors’ Assets Free and Clear of Liens, Claims, Interests and Encumbrances, (III) Authorizing

 the Assumption and Assignment of Certain Executory Contracts, and Leases in Connection

 Therewith, and (IV) Granting Related Relief (the “Sale Approval Order”). Under the terms of

 the Sale Approval Order, the Debtors sold substantially all of their operating assets to Transform

 Holdco LLC (“New Sears”).

                                             Jurisdiction

                6.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

 §§ 157 and 1334, and the Amended Standing Order of Reference M-431, dated January 31, 2012

 (Preska, C.J.). This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before

 this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          Relief Requested

                7.      Wachtell is seeking to withdraw as section 327(e) counsel to the Debtors

 under Local Rule 2090-1(e). A proposed form of order granting the relief requested in this

 Application is attached hereto as Exhibit A (the “Proposed Order”).


                                                   3
18-23538-rdd     Doc 2761      Filed 03/06/19 Entered 03/06/19 15:29:37             Main Document
                                            Pg 7 of 21


                8.      In support of the relief requested herein, the Debtors submit the

 Declaration of Amy R. Wolf, of counsel to Wachtell (the “Wolf Declaration”), attached hereto

 as Exhibit B. Attached to the Wolf Declaration as Exhibit 1 is a letter agreement between

 Wachtell and the Debtors (the “Letter Agreement”) in which the Debtors agree that they no

 longer have need for Wachtell’s services and agreeing to Wachtell’s termination. As further set

 forth in the Wolf Declaration, the Debtors have been informed that Wachtell may be asked to

 represent New Sears on certain matters and have consented thereto on the terms described in the

 Letter Agreement.

                            The Relief Requested Should Be Granted

                9.      The primary reason Wachtell was retained as section 327(e) counsel for

 the Debtors was to assist the Debtors with the Wachtell Matters. After the entry of the Sale

 Approval Order, and the transfer of substantially all of the Debtors’ operating assets to New

 Sears, the “specified special purpose” for which Wachtell was employed under section 327(e) is

 no longer necessary, and the Debtors agree that Wachtell has no further meaningful role to play

 in assisting the Debtors. 11 U.S.C. § 327(e). Therefore, and as further set forth in the Wolf

 Declaration, there will be no material adverse effect on, or prejudice to, the Debtors or their

 estates, by permitting Wachtell to withdraw as section 327(e) counsel to the Debtors.

                10.     The Debtors will continue to be primarily represented before this Court by

 other counsel, including Weil, Gotshal & Manges LLP (“Weil”). Accordingly, the progress of

 this case will not be disrupted in any way, as responsibility for conducting all matters before this

 Court remains with Weil. See generally Altvater Gessier-J.A. Baczewski Int’l (USA) Inc. v.

 Sobieski Destylarnia S.A., 2011 WL 2893087, at *8 (S.D.N.Y. July 14, 2011).




                                                  4
18-23538-rdd      Doc 2761      Filed 03/06/19 Entered 03/06/19 15:29:37           Main Document
                                             Pg 8 of 21


                11.     If the Court approves the relief sought herein, Wachtell will serve and file

 a final fee application for allowance of its compensation and expenses in accordance with

 sections 330 and 331 of the Bankruptcy Code, Bankruptcy Rules, Local Rules, Fee Guidelines,

 and any further order of the Court within 60 days after entry of the order granting leave to

 withdraw.

                                               Notice

                12.     Notice of this Application will be provided in accordance with the

 procedures set forth in the Amended Order Implementing Certain Notice and Case Management

 Procedures (ECF No. 405) (the “Amended Case Management Order”). Wachtell respectfully

 submits that no further notice is required.

                13.     No previous request for the relief sought herein has been made by the

 Wachtell to this or any other Court.




                                                  5
18-23538-rdd      Doc 2761       Filed 03/06/19 Entered 03/06/19 15:29:37          Main Document
                                              Pg 9 of 21


                 WHEREFORE, Wachtell respectfully requests entry of the Proposed Order and

 such other and further relief as is just.

 Dated: March 6, 2019
        New York, New York



                                             /s/ Amy R. Wolf

                                             WACHTELL, LIPTON, ROSEN & KATZ
                                             51 West 52nd Street
                                             New York, New York 10019
                                             Telephone: (212) 403-1000
                                             Facsimile: (212) 403-2000
                                             Scott K. Charles
                                             Amy R. Wolf

                                             327(e) Counsel for Debtors and Debtors in
                                             Possession




                                                    6
18-23538-rdd   Doc 2761   Filed 03/06/19 Entered 03/06/19 15:29:37   Main Document
                                       Pg 10 of 21


                                     Exhibit A

                                  Proposed Order




                                         7
18-23538-rdd        Doc 2761        Filed 03/06/19 Entered 03/06/19 15:29:37                     Main Document
                                                 Pg 11 of 21


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------x
 In re                                                          :
                                                                :       Chapter 11
 SEARS HOLDINGS CORPORATION, et al.,                            :
                                                                :       Case No. 18-23538 (RDD)
                                                                :
                   Debtors.   1                                 :       (Jointly Administered)
 ---------------------------------------------------------------x

     ORDER AUTHORIZING WACHTELL, LIPTON, ROSEN & KATZ TO WITHDRAW
     AS SPECIAL COUNSEL TO THE DEBTORS PURSUANT TO LOCAL RULE 2090-1

                  Upon the application, dated March 6, 2019 (ECF No. [●]) (the “Application”) 2 of

 Wachtell, Lipton, Rosen & Katz (“Wachtell”); and the Court having jurisdiction to decide the

 Application and the relief requested therein in accordance with 28 U.S.C. §§ 157(a)–(b) and

 1334(b) and the Amended Standing Order of Reference M-431, dated January 31, 2012 (Preska,

 C.J.); and consideration of the Application and the relief requested therein being a core

 proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to

 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the relief requested in the Application



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
 LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); SHC Licensed
 Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn &
 Garden, LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc.
 (7180); Kmart Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co.
 (6028); Sears Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears
 Home Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services,
 Inc. (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
 Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC
 (None); SHC Promotions LLC (9626); Big Beaver of Florida Development, LLC (None); California Builder
 Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839);
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 Publishing Company, LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC
 (None); SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC
 (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com
 LLC (9022); Sears Brands Management Corporation (5365); and SRe Holding Corporation (4816). The location of
 the Debtors’ corporate headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179.
18-23538-rdd        Doc 2761        Filed 03/06/19 Entered 03/06/19 15:29:37                     Main Document
                                                 Pg 12 of 21




 having been provided in accordance with the Case Management Order; such notice having been

 adequate and appropriate under the circumstances, and it appearing that no other or further notice

 need be provided; and upon the Declaration of Amy R. Wolf, filed contemporaneously with the

 Application, and upon all of the proceedings had before the Court; and the Court having

 determined that the legal and factual bases set forth in the Application establish just cause for the

 relief granted herein and is in the best interests of the Debtors, their estates, their creditors, and

 all parties in interest; and after due deliberation and sufficient cause appearing therefor,

                  IT IS HEREBY ORDERED THAT:

                  1.       The Application is granted to the extent set forth herein.

                  2.       Wachtell is granted leave to withdraw as counsel pursuant to Local Rule

 2090-1 and shall no longer serve as special counsel to the Debtors under section 327(e) as of the

 date of this Order.

                  3.       For fees accrued for periods prior to the date of the entry of this Order,

 Wachtell shall continue to file monthly statements and interim fee applications under, and be

 compensated in accordance with, the Order Authorizing Procedures for Interim Compensation

 and Reimbursement of Expenses of Professionals (ECF No. 796), entered November 16, 2018.

                  4.       Wachtell shall be compensated in accordance with, and shall file, a final

 fee application for allowance of its compensation and expenses within 60 days of the date of this

 Order and shall be subject to sections 330 and 331 of the Bankruptcy Code, the Bankruptcy

 Rules, the Local Rules, the Fee Guidelines, and any further order of the Court.




 2
   Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
 in the Application.
18-23538-rdd     Doc 2761      Filed 03/06/19 Entered 03/06/19 15:29:37            Main Document
                                            Pg 13 of 21




                5.     Wachtell is authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Application.

                6.     Notwithstanding any provision in the Bankruptcy Rules to the contrary,

 this Order shall be effective and enforceable immediately upon its entry.

                7.     To the extent the Application is inconsistent with this Order, the terms of

 this Order shall govern.

                8.     This Court shall retain jurisdiction to hear and determine all matters

 arising from or related to the implementation, interpretation, and/or enforcement of this Order.


 Dated: ______________, 2019
        White Plains, New York
                                              ____________________________________
                                              THE HONORABLE ROBERT D. DRAIN
                                              UNITED STATES BANKRUPTCY JUDGE
18-23538-rdd   Doc 2761   Filed 03/06/19 Entered 03/06/19 15:29:37   Main Document
                                       Pg 14 of 21


                                     Exhibit B

                                  Wolf Declaration
18-23538-rdd        Doc 2761        Filed 03/06/19 Entered 03/06/19 15:29:37                     Main Document
                                                 Pg 15 of 21


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------x
 In re                                                          :
                                                                :       Chapter 11
 SEARS HOLDINGS CORPORATION, et al.,                            :
                                                                :       Case No. 18-23538 (RDD)
                                                                :
                   Debtors.   1                                 :       (Jointly Administered)
 ---------------------------------------------------------------x

            DECLARATION OF AMY R. WOLF IN SUPPORT OF WACHTELL’S
             APPLICATION TO WITHDRAW AS SPECIAL COUNSEL TO THE
                   DEBTORS PURSUANT TO LOCAL RULE 2090-1

                  I, Amy R. Wolf, under penalty of perjury, declare as follows:

                  1.       I am of counsel to the firm of Wachtell, Lipton, Rosen & Katz

 (“Wachtell”), a law firm whose offices are located at 51 West 52nd Street, New York, NY

 10019. Except as otherwise noted, I have personal knowledge of the matters set forth herein, and

 if called and sworn as a witness, I could and would testify competently thereto.




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
 LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); SHC Licensed
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 (None); SHC Promotions LLC (9626); Big Beaver of Florida Development, LLC (None); California Builder
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 (None); SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC
 (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com
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18-23538-rdd        Doc 2761        Filed 03/06/19 Entered 03/06/19 15:29:37                     Main Document
                                                 Pg 16 of 21




                  2.       This Declaration is made in support of Wachtell’s March 6, 2019

 application to withdraw as special counsel to the Debtors (the “Application”). 2

                  3.       I am familiar with the contents of the Application and the factual

 representations contained therein, and believe them to be true and correct.

                  4.       After the entry of the Sale Approval Order, and the transfer of assets from

 the Debtors to New Sears, the Debtors will primarily will be engaged in the resolution of creditor

 claims, the distribution of their remaining assets to their creditors, and the pursuit of litigation

 claims. I believe that Wachtell’s services with respect to the Wachtell Matters (as defined in my

 previous Declaration) will no longer be useful or necessary for the conduct of the remaining

 portions of the Debtors’ cases. We have discussed this matter with Mohsin Meghji, the Debtors’

 Chief Restructuring Officer, who has agreed that the Debtors no longer need our services. We

 have also discussed with Mr. Meghji the possibility that we will be asked to represent the entity

 that has acquired substantially all of the Debtors’ assets in certain matters, and he has consented

 to our doing so on the terms set forth in the Letter Agreement annexed hereto as Exhibit 1.

                  5.         The Debtors are represented by extremely able and competent counsel at

 Weil, and I have no reason to believe that granting the Application will cause any impairment of

 their ability to conduct the Debtors’ cases for the benefit of their estates. I further believe that

 the Debtors will not suffer any prejudice as a result of granting the Application.

                  6.       The Debtors have been fully informed of the contents of the Application,

 and represent that they consent in full to the relief sought therein.




 2
   Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
 in the Application.
18-23538-rdd     Doc 2761      Filed 03/06/19 Entered 03/06/19 15:29:37           Main Document
                                            Pg 17 of 21




                Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is true and correct to the best of my information, knowledge, and belief.

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18-23538-rdd    Doc 2761     Filed 03/06/19 Entered 03/06/19 15:29:37   Main Document
                                          Pg 18 of 21


 Executed this 6th day of March, 2019




                                    _________________________________
                                    Amy R. Wolf
                                    Of Counsel
                                    Wachtell, Lipton, Rosen & Katz
18-23538-rdd   Doc 2761   Filed 03/06/19 Entered 03/06/19 15:29:37   Main Document
                                       Pg 19 of 21




                                     Exhibit 1

                                 Letter Agreement
18-23538-rdd   Doc 2761   Filed 03/06/19 Entered 03/06/19 15:29:37   Main Document
                                       Pg 20 of 21
18-23538-rdd   Doc 2761   Filed 03/06/19 Entered 03/06/19 15:29:37   Main Document
                                       Pg 21 of 21
